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4    Robbie Powelson
     Robbieoowelson@gmail.com.
5    415-847-7500
     1001 Bridgeway, #611
6    Sausalito CA 94965

7                                               UNITED STATES COURT

8                                       DISTRICT OF NORTHERN CALIFORNIA

9
     RYAN TUTTLE,                                               Case No.:   3:22-cv-02441-EMC( RMI)
10
                     Plaintiff,
11
     VS.
12
     CHRISTOPHER ZAPATA ET AL
13
                     Defendant
                                                                PROPOSED AMICUS BRIEF
14

15
                                                                APPLICATION OF AMICI CURIAE IN SUPPORT                  +
16                                                              OF RYAN TUTTLES MOTION FOR
                                                                TEMPORARY RESTRAINING O�DER
17
                                                                [FILED CONCURRENTLY WITH PROPOSED
18                                                              AMICUS BRIEF)

19

20

21
             1, Robbie Powelson, declare as follows
22
             I am president of the Marin County Homeless Union the organizational plaintiff in the lawsuit. I have
23
     thorough knowledge of Camp Cormorant at Marinship Park.
24
             I have full knowledge of what is in this declaration and if called to testify could and would do so
25
     competently.
26
             I have direct knowledge the Lieutenant Gregories declaration is impertinent for the foregoing reasons.
27

28   APPLICATION OF AMICI CURIAE IN SUPPORT OF RYAN TUTTLES MOTION FOR TEMPORARY
     RESTRAINING ORDER[FILED CONCURRENTLY WITH PROPOSED AMICUS BRIEF] - 2
                         Case 3:22-cv-02441-EMC Document 15-1 Filed 04/28/22 Page 2 of 3
I   '




                      I know that Stacey Gregory is rarely at Camp Cormorant and only stops by once in a while, and it is usuall

        2    during police raids when she is preoccupied talcing peoples tents, platforms, cars, etcetera.

        3             I have seen half a dozen people turned away for getting a spot at the camp by Urban Alchemy who always

        4    tell people they deny to to contact Stacey Gregory. When I follow up with people after they try to call her, those
                                                                    ,
        5    people generally tell me that she never returns their calls.

        6             It is not feasible for Ryan Tuttle, or anyone for that matter, to call and stay in touch with Lieutenant

        7    Gregorie when they themselves do not have a phone and when Lieutenant Gregorie tends to ignores us.

        8             I myself have attempted to contact Stacy Gregory to report a crime I was a victim of, and sent written

        9    notices and called after a Officer Edgar Padilla directed to me. Even when I talked with her in person, and she

        10   persistently ignores me - even when I talked to her in person, she will literally just stare directly at me with her bro

        11   furled, say nothing, and ignore my questions.

        12            Based on my direct knowledge talking with people seeking to contact Stacey Gregorie that is her pattern

        13   and practice to ignore people requesting tents, after Urban Alchemy to direct people to contact her.

        14            Based on that knowledge, her declaration is impertinent, because it tactically misrepresents her relationship

        15   with campers because she intentionally ignores people and does not talk to them.

        16            Because she has an unofficial policy of ignoring people at the camp. She has an open and obvious contemp

        17   for almost everyone there (though she has a few favorites). Her antagonistic demeanor against unhoused people

        18   generally does not further any compelling governmental interest.

        19            When the City crushed our camp at Dunphy Park, I witness Gregorie in her plain clothes that suggested tha

        20   she was off the clock, driving a massive plow to destroy our possessions after we had been herded like cattle to the

        21   sewage contaminated soil at Marinship. She was apparently gleeful of the destruction of peoples property that she

        22   came after work to participate in the destruction of property in on her off time.

        23             It has been my observation that the police departments practice ignoring people has created apathy amongst

        24   unhoused people in Sausalito who simply do not ask for anything from the police department because it is generally

        25   understood the police department will not help and that it will increase your risk of retaliation by the police which

        26   may result in false arrest, having your vehicle seized, being beaten, rocks thrown at you, or choked by Sausalito

        27   Police Department employees.

        28   APPLICATION OF AMICI CURIAE IN SUPPORT OF RYAN TUTTLES MOTION FOR TEMPORARY
             RESTRAINING ORDER[FILED CONCURRENTLY WITH PROPOSED AMICUS BRIEF] - 3
             Case 3:22-cv-02441-EMC Document 15-1 Filed 04/28/22 Page 3 of 3




           I declare under penalty of per·ury the foregoing to be a true and correct statement.

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28
     APPLICATION OF AMICI CURIAE IN SUPPORT OF RYAN TUTTLES MOTION FOR TEMPORARY
     RESTRAINING ORDER[FILED CONCURRENTLY WITH PROPOSED AMICUS BRIEF] - 4
